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05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 19-503
08         Plaintiff,                     )
                                          )
09         v.                             )
                                          )            DETENTION ORDER
10   LUIS GUTIERREZ-ROSALES,              )
                                          )
11         Defendant.                     )
     ____________________________________ )
12

13 Offense charged:        Possession With Intent to Distribute Heroin

14 Date of Detention Hearing:     October 23, 2019.

15          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

16 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

17 that no condition or combination of conditions which defendant can meet will reasonably assure

18 the appearance of defendant as required and the safety of other persons and the community.

19         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

20          1.     Defendant, a native of Mexico, is believed to lack legal status in the United

21 States. He has previous immigration-related convictions. He was not interviewed by Pretrial

22 Services, so his background information is unknown or unverified. Defendant does not contest



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01 detention.

02         2.      Defendant poses a risk of nonappearance based on status as a Mexican national

03 and lack of legal status, and unknown or unverified background information. Defendant poses

04 a risk of danger based on the nature and circumstances of the offense.

05         3.      There does not appear to be any condition or combination of conditions that will

06 reasonably assure the defendant’s appearance at future Court hearings while addressing the

07 danger to other persons or the community.

08 It is therefore ORDERED:

09 1. Defendant shall be detained pending trial, and committed to the custody of the Attorney

10      General for confinement in a correction facility;

11 2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

12 3. On order of the United States or on request of an attorney for the Government, the person

13      in charge of the corrections facility in which defendant is confined shall deliver the

14      defendant to a United States Marshal for the purpose of an appearance in connection with a

15      court proceeding; and

16 4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

17      the defendant, to the United States Marshal, and to the United State Probation Services

18      Officer.

19         DATED this 23rd day of October, 2019.

20

21                                                          A
                                                            Mary Alice Theiler
22                                                          United States Magistrate Judge



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